             Case 3:21-cv-05548-JCS Document 11 Filed 11/11/21 Page 1 of 3




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10                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
11

12

13   LOUIS FLOYD and JEFFREY                       )    Case No.
     KATZ, individually and on behalf of           )
14
     all others similarly situated,                )    3:21-cv-05548-JCS
15   Plaintiff,                                    )
     vs.                                           )    STIPULATION OF DISMISSAL
16
     WENIG HOLDINGS LLC DBA                        )    OF ACTION WITHOUT
17   INSURANCESERVICES4U.COM                       )    PREJUDICE.
18
     ;                                             )
     DOES 1 through 10, inclusive,                 )
19   Defendant(s).                                 )
20                                                 )
                                                   )
21
                                                   )
22

23
           NOW COME THE PARTIES by and through their attorneys to respectfully
24
     move this Honorable Court to dismiss this matter in its entirety without prejudice,
25   pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear
26   their own costs and attorney fees. A proposed order has been concurrently
27   submitted to this Court.
28
           ///


                                      Stipulation to Dismiss- 1
             Case 3:21-cv-05548-JCS Document 11 Filed 11/11/21 Page 2 of 3




1                       Respectfully submitted this 11th Day of November, 2021,
2
                                          By: s/ Todd M. Friedman, Esq.
3                                             Todd M. Friedman
4                                             Attorney for Plaintiff
5

6
                                   Signature Certification
7
            Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
8
     Policies and Procedures Manual, I hereby certify that the content of this
9
     document is acceptable to counsel for Defendant and that I have obtained their
10
     authorization to affix their electronic signature to this document.
11

12
     Dated: November 11, 2021        LAW OFFICES OF TODD M. FRIEDMAN,
13
     P.C.
14

15                                 By: _s/ Todd M. Friedman
16
                                        Todd M. Friedman ESQ.
                                         Attorney for Plaintiff
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                                      Stipulation to Dismiss- 2
             Case 3:21-cv-05548-JCS Document 11 Filed 11/11/21 Page 3 of 3




1                            CERTIFICATE OF SERVICE
2
     Filed electronically on November 11, 2021, with:
3

4    United States District Court CM/ECF system
5
     Notification sent electronically on November 11, 2021, to:
6

7
     To the Honorable Court, all parties and their Counsel of Record

8

9    s/ Todd M. Friedman
10
     Todd M. Friedman
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                                     Stipulation to Dismiss- 3
